          Case 4:19-cv-00287-BLW Document 129 Filed 09/16/22 Page 1 of 2




Norman G. Reece, Jr. (ISB No. 3898)
NORMAN G. REECE, P.C
445 West Chubbuck Road, Suite D
Chubbuck, Idaho 83202
Tel: (208) 233-0128
Fax: (208) 233-4895
Email: normreecelaw@aol.com

Attorney for Defendant, Chris S. Hayes


                                 UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF IDAHO



 MARIA ANGELICA “ANGIE”                                        Case No. 4:19-CV-00287-BLW
 CARBAJAL, an individual,

 Plaintiff,
                                                               MOTION TO BIFURCATE
 vs.

 HAYES MANAGEMENT SERVICES,
 INC., an Idaho Corporation, HAYES
 TAX & ACCOUNTING SERVICES,
 INC., an Idaho Corporation, AND
 CHRIS S. HAYES, an individual,

 Defendants.

 _________________________________

 HAYES MANAGEMENT SERVICES,
 INC., an Idaho Corporation,

 Counterclaimant,

 vs.

 MARIA ANGELICA “ANGIE”
 CARBAJAL, an individual,

 Counterdefendant.



__________________________________________________________________________________________________________________
MOTION TO BIFURCATE - 1
21-1107.7
          Case 4:19-cv-00287-BLW Document 129 Filed 09/16/22 Page 2 of 2




        Defendant, Chris S. Hayes (“Hayes”), by and through his attorney of record, moves the Court

to bifurcate the trial in this matter. Specifically, Hayes asks the Court to have the jury first determine

whether Hayes Management employed more than 15 employees during the relevant time periods –

a prerequisite to liability under Title VII. See 42 U.S.C. § 2000e(b).

        This motion is brought pursuant to Federal Rule of Civil Procedure 42(b). Submitted with

this motion is the Memorandum of Points and Authorities in Support of Motion to Bifurcate.

        DATED this 16th day of September, 2022.

                                                     NORMAN G. REECE, P.C

                                                                           /s/
                                                     Norman G. Reece, Jr., of the Firm, Attorney for
                                                     Defendant, Chris S. Hayes


                                       CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of September, 2022, I served a true and correct copy of

the foregoing MOTION TO BIFURCATE via email to the following:


        DeAnne Casperson                                     Shelly H. Cozakos
        Amanda E. Ulrich                                     COZAKOS & CENTENO, PLLC
        Ryan S. Dustin                                       475 W. Main Street
        CASPERSON ULRICH DUSTIN PLLC                         Boise, ID 83707-7626
        356 West Sunnyside Road, Suite B                     Email: shelly@pclawboise.com
        Idaho Falls, ID 83402                                eService: efile@pclawboise.com
        dcasperson@workandwage.com
        aulrich@workandwage.com
        rdustin@workandwage.com

        John G. Simmons (ISB No. 3156)
        JOHN SIMMONS JD LLM Prof Co
        796 Memorial Drive
        Idaho Falls, ID 83402
        Email: johnsimmonslaw@gmail.com

                                                                               /s/
                                                                      Norman G. Reece, Jr.

__________________________________________________________________________________________________________________
MOTION TO BIFURCATE - 2
21-1107.7
